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            EXHIBIT 6
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From:            Bethany Olsen
To:              th@baroniuspress.com
Cc:              Craig St. Clair
Subject:         RE: Fundamentals of Catholic Dogma
Date:            29 January 2020 01:47:26


Tom,

I wanted to check back in on the below, as we are eager to make things right. Please do let me
know your thoughts on what an equitable solution would be, at your convenience.

Best,

Bethany Olsen
Manager of Content Partnerships, Publisher Relations
Faithlife Corporation | Logos Bible Software
1313 Commercial Street
Bellingham, WA, 98225
1-800-875-6467 x. 4431
Cell: 360-319-5276


From: Bethany Olsen
Sent: Thursday, January 16, 2020 10:18 AM
To: 'th@baroniuspress.com' <th@baroniuspress.com>
Cc: Craig St. Clair <craig@verbum.com>
Subject: RE: Fundamentals of Catholic Dogma

Tom,

I received our revenue numbers directly from our accounting team, who ran a report on all
revenue received from that specific title in any kind of sale. The order numbers (75 total) and
dollar numbers ($387.97) are verified.

As for the 33 collection sales, I had been looking at the collective data and assumed originally
that they were all from one collection. However, when I broke down the data further, it turns
out they came from two collections:

https://www.logos.com/product/175770/logos-feature-expansion-master-collection
https://www.logos.com/product/175477/systematic-theologies-collection

Those two collections are still for sale on our websites but we removed your title from them in
June.

As Craig mentioned by phone, we didn’t promote the title individually nor did we put
promotional powers behind the two above collections, so that’s why the title’s collective order
numbers aren’t terribly high for that two-month period.

Let me know if you have any further questions about this.
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Best,

Bethany Olsen
Manager of Content Partnerships, Publisher Relations
Faithlife Corporation | Logos Bible Software
1313 Commercial Street
Bellingham, WA, 98225
1-800-875-6467 x. 4431
Cell: 360-319-5276

From: th@baroniuspress.com <th@baroniuspress.com>
Sent: Thursday, January 16, 2020 8:48 AM
To: Bethany Olsen <bolsen@faithlife.com>
Cc: Craig St. Clair <craig@verbum.com>
Subject: RE: Fundamentals of Catholic Dogma

Dear Bethany,

Thank you for rechecking the sales figures.

I remember that the last time we had this problem with Fundamentals of Catholic Dogma your predecessors
also did not gather all of the figures, as initially they also overlooked the sales that had been made through
collections.

Can you please clarify the product name of the “large collection of public domain content” you refer to in your
last email?

Previously, Fundamentals was included in at least one other bundle – Catholic Theology and Dogma
Collection (7 vols.), as it is a companion book to The Sources of Catholic Dogma by Henry Denzinger. Can
you please double check that Fundamentals was not part of any other collection?

Lastly, can you please clarify how you have calculated the total revenue you received for FundamentaTls?




Yours sincerely,

Tom Healy




From: Bethany Olsen <bolsen@faithlife.com>
Sent: 1/15/20 4:21 AM
To: "th@baroniuspress.com" <th@baroniuspress.com>
Cc: "Craig St. Clair" <craig@verbum.com>
Subject: RE: Fundamentals of Catholic Dogma
Tom,

Per our call on Monday, here is an outline of the sales made of Fundamentals of Catholic Dogma and our
proposal to you.

We did double-check our figures and the order numbers are a bit higher than what we originally thought, as
we discovered that we did make a few collection sale. This is counter to what we originally believed when
discussing with you on Monday and I apologize for the confusion.
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There were 75 total transactions and here is a breakdown of each sale type:



         42 individual sales of the book, including:


                22 sales to customers
                20 free copies to employees (it is our standard practice to give interested employees free
                copies of public domain titles they are interested in)

         33 copies sold as part of a large collection of public domain content

The total revenue we received for the book between April – June 2019 is $387.97 and we would be happy to
give you 100% of that revenue.

Please let me know your feedback. We are very much interested in coming to an agreement that feels
equitable to you.

I’m also more than happy to have another phone call if you have further questions.

Best,

Bethany Olsen
Manager of Content Partnerships, Publisher Relations
Faithlife Corporation | Logos Bible Software
1313 Commercial Street
Bellingham, WA, 98225
1-800-875-6467 x. 4431
Cell: 360-319-5276

From: th@baroniuspress.com <th@baroniuspress.com>
Sent: Monday, January 13, 2020 10:03 AM
To: Craig St. Clair <craig@verbum.com>
Cc: Bethany Olsen <bolsen@faithlife.com>
Subject: Re: Fundamentals of Catholic Dogma

Dear Bethany and Craig,

Many thanks for your time on the phone this morning. The account for placing the file of Fundamentals in is:
info@baroniuspress.com

Yours sincerely,

Tom Healy




From: "Craig St. Clair" <craig@verbum.com>
Sent: 1/9/20 7:56 PM
To: "th@baroniuspress.com" <th@baroniuspress.com>
Cc: Bethany Olsen <bolsen@faithlife.com>
Subject: Re: Fundamentals of Catholic Dogma
Dear Mr. Healy,
Thank you for your reply. I look forward to talking with you on Monday, January 13th at 9am Pacific Time.

Faithlife’s Publisher Relations Manager, Bethany Olsen, will also be joining us on the call.

I’ll include you on a meeting invitation. You can join the meeting via telephone or internet. I will send it out
shortly.
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Sincerely,

Craig

Craig St. Clair | Verbum Product Manager | Faithlife, Inc. |1313 Commercial St., Bellingham, WA |
Phone: (360) 398-5103 | craig@verbum.com

From: "th@baroniuspress.com" <th@baroniuspress.com>
Reply-To: "th@baroniuspress.com" <th@baroniuspress.com>
Date: Wednesday, January 8, 2020 at 10:49 AM
To: "Craig St. Clair" <craig@verbum.com>
Subject: Re: Fundamentals of Catholic Dogma

Dear Mr. St. Clair,

I will be available for a call on Monday, January 13th at 9am. Please can you provide the best number to call
you on?

Yours sincerely,

Tom Healy




From: "Craig St. Clair" <craig@verbum.com>
Sent: 1/4/20 1:25 AM
To: "th@baroniuspress.com" <th@baroniuspress.com>
Subject: Re: Fundamentals of Catholic Dogma
Dear Mr. Healy,
Happy New Year to you too!

We sold 42 individual copies of the book.

How about a call on Monday, January 13th at 9am Seattle time (5pm London time) or another day this week?

Sincerely,

Craig

Craig St. Clair | Verbum Product Manager | Faithlife, Inc. |1313 Commercial St., Bellingham, WA |
Phone: (360) 398-5103 | craig@verbum.com

From: "th@baroniuspress.com" <th@baroniuspress.com>
Reply-To: "th@baroniuspress.com" <th@baroniuspress.com>
Date: Thursday, January 2, 2020 at 9:41 AM
To: "Craig St. Clair" <craig@verbum.com>
Subject: Re: Fundamentals of Catholic Dogma

Dear Mr. St. Clair,

Happy New Year!

I can be available for a phone call next week from Tuesday onward, first thing in your morning due to the time
difference.

In order to be able to discuss the matter further, please provide the number of copies sold or distributed, either
separately or as part of a package, for the period Fundamentals of Catholic Dogma was being published, as
requested in my previous email.
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Yours sincerely,



   Tom Healy




From: "Craig St. Clair" <craig@verbum.com>
Sent: 12/21/19 1:27 AM
To: "th@baroniuspress.com" <th@baroniuspress.com>
Subject: Re: Fundamentals of Catholic Dogma
Dear Mr. Healy,
Please accept my deepest apologies. The posting of the title was inadvertent and
it was taken down from our website and made unavailable for sale when the error
was realized. I would like to discuss the matter further with you over the phone. Is
there a time in the near future when we could schedule a call?

Sincerely,

Craig

Craig St. Clair | Verbum Product Manager | Faithlife, Inc. |1313 Commercial St., Bellingham, WA |
Phone: (360) 398-5103 | craig@verbum.com

From: "th@baroniuspress.com" <th@baroniuspress.com>
Reply-To: "th@baroniuspress.com" <th@baroniuspress.com>
Date: Friday, December 20, 2019 at 4:02 AM
To: "Craig St. Clair" <craig@verbum.com>
Subject: Fundamentals of Catholic Dogma


Dear Mr. St. Clair,

Baronius Press is the copyright holder of Fundamentals of Catholic Dogma by Ludwig Ott.

It would appear from the following post, that Logos was publishing Fundamentals of Catholic Dogma by
Ludwig Ott for approximately 2 months earlier this year:

https://community.logos.com/forums/t/180933.aspx

In the past Logos published Fundamentals of Catholic Dogma without permission. At that time, we contacted
Logos and were provided with the number of copies sold or distributed and later a settlement was reached.

Please provide the number of copies sold or distributed, either separately or as part of a package, for the
above mentioned period when the title was being published.


Yours sincerely,

   Tom Healy
